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                                                                          6                                  IN THE UNITED STATES DISTRICT COURT
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                                                                                                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                                        No. CR 05-00216 WHA
                                                                         11
United States District Court




                                                                                                Plaintiff,
                                                                         12
                               For the Northern District of California




                                                                                 v.                                                            ORDER
                                                                         13   LEROY E. FRITTS and RODERICK ALYN
                                                                         14   PRESCOTT,

                                                                         15                     Defendants.
                                                                                                                                      /
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                                                                         17            The Court would like to reschedule the hearing set for Tuesday, December 6, 2005, to

                                                                         18   allow time to consider the evidence recently requested. If any party has an objection to such a

                                                                         19   continuance, please notify the court and all parties today.

                                                                         20
                                                                         21            IT IS SO ORDERED.

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                                                                         23   Dated: November 29, 2005
                                                                                                                                          WILLIAM ALSUP
                                                                         24                                                               UNITED STATES DISTRICT JUDGE

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